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                                                                                     February 12, 2020

   BY ECF

   The Honorable Lorna G. Schofield
   United States District Judge
   Southern District of New York
   40 Foley Square
   New York, New York 10007

                    Re:      Jane Doe, et al. v. The Trump Corporation, et al., l8-cv-09936 (LGS)

   Dear Judge Schofield:

           We write on behalf of Plaintiffs in the above-referenced action, pursuant to Rule I.D.3 of
   Your Honor’s Individual Rules and Procedures for Civil Cases (“Individual Rules”), to
   respectfully request the Court’s provisional approval to file with redactions a letter we submitted
   to Chambers by email yesterday evening (the “Letter”) concerning certain actions taken by ACN
   Opportunity, LLC (“ACN”). For the reasons set forth below, and consistent with the Court’s
   Individual Rules, we are provisionally filing the letter with redactions based on ACN’s assertion
   of confidentiality with respect to certain portions of the Letter, an assertion with which Plaintiffs
   respectfully disagree.

           Following our submission of the Letter, Plaintiffs have met and conferred with Defendants
   and counsel for ACN concerning the filing of the Letter on the public docket. No party has any
   objection to the public filing of the Letter, but counsel for ACN has asserted a confidentiality
   interest with respect to the four bullet points that appear at the bottom of page 1 and the top of
   page 2. 1

         Given that the remainder of the letter reflects both the existence of the putative arbitration
   demands and the fact that those putative demands attempt to interfere with the pending motion to
   compel and the Court’s jurisdiction with respect to Rule 45 subpoenas, Plaintiffs disagree with


   1
    Earlier this afternoon, we were surprised to learn from ACN that ACN had initiated an ex-parte call with Chambers
   concerning these matters, in apparent violation of the Court’s Individual Rules requiring counsel calling Chambers to
   “include all counsel on the call.” (Individual Rule I.B.3.)
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    ACN’s assertion of confidentiality with respect to the bullet points specifically. 2 Nevertheless,
    Plaintiffs submit this letter consistent with the applicable procedures set forth in the Court’s
    Individual Rules where the filing party is not the entity asserting an interest in the confidential
    treatment of the redacted information.

            Accordingly, Plaintiffs have provisionally redacted the four bullet points from the Letter
    on the public docket. 3 We note, however, that pursuant to Rule I.D.3 of this Court’s Individual
    Rules, it is ACN—the entity “with an interest in confidential treatment”—that “bears the burden
    of persuasion” with respect to these provisional redactions.

               Thank you for your attention to this matter.

                                                                   Respectfully submitted,




                                                                   John C. Quinn

    cc:        Counsel of Record (via ECF)
               Counsel for ACN Opportunity, LLC (via certified overnight delivery service and email)




    2
        Defendants have indicated that they have no objection to ACN’s proposed redactions.
    3
      In accordance with Rule I.D.3, an unredacted copy of the Letter with redactions highlighted will be filed
    contemporaneously with this letter motion. See Standing Order, 19-mc-00583 (Dec. 19, 2019); Electronic Case Filing
    Rules & Instructions, Rule 6.8. Plaintiffs will timely serve the unredacted Letter on ACN and Defendants.
